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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT TACOMA

 7     STATE OF WASHINGTON,                            C17-5806RJB

 8                          Plaintiff,

 9               v.

10     THE GEO GROUP, INC.,

11                          Defendant.

12
       UGOCHUKWU GOODLUCK                              C17-5769RJB
13     NWAUZOR, FERNANDO
       AGUIRRE-URBINA, individually and
14     on behalf of all those similarly
       situated,
15                                                     COURT’S VOIR DIRE FOR SECOND
                                    Plaintiffs,        TRIAL
16
                 v.
17
       THE GEO GROUP, INC., a Florida
18     corporation,

19                              Defendant

20
           Dated this 5th day of October, 2021.
21

22                                       A
                                         ROBERT J. BRYAN
23
                                         United States District Judge
24


     COURT’S VOIR DIRE FOR SECOND TRIAL
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 1                         (The Court will ask follow-up questions as appropriate)

 2           Swear the panel.

 3           1) Did you all hear my introduction to the case?

 4           2) Is all the information you provided to the Court in writing before today true and

 5   correct?

 6   `      3) Using the Zoom platform for jury selection is a fairly new thing. The COVID-19

 7   pandemic caused us to search out new ways to do things, consistent with safety and health

 8   requirements. In this case, after a jury of eight is selected today, the eight jurors chosen will

 9   report to the courthouse daily for the trial. We have arranged to use large rooms for jury recesses

10   and deliberations so that social distancing will be practiced. In the courtroom, we have air

11   cleaners and some plexiglass shields, and all participants will be asked to wear masks at all times

12   unless they are speaking or behind glass. This environment requires that all concerned, including

13   jurors, cooperate, promptly report any issues, and use their best efforts to provide a fair trial to all

14   concerned. Are you willing to participate with those things in mind?

15           4) The lawyers have estimated a two-week trial for the first phase of the case, with

16   another week for the second phase, if necessary. Lawyers and judges only can estimate, and

17   once we start, it will take as long as it takes. Trial will typically be from 9:00 a.m. to noon and

18   1:00 p.m. to 4 p.m. daily, with morning and afternoon breaks. Is there anything in your life that

19   would make it truly difficult or unfair for you to be a juror on this case?

20           5) Do any of you have childcare, caregiving or other responsibilities that would make it

21   hard to give your full attention throughout the trial?

22           6) Do any of you know, or know of, the class plaintiff or any of the lawyers in the case?

23           7) Have any of you heard of this case before? Source?

24           8) Does this case remind you in any way of anything in your own life?


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 1          9) Do any of you know, or know of, anyone on the witness lists read to you?

 2          10) Are any of you, or is anyone close to you, involved with the courts or the

 3   administration of justice? With law enforcement?

 4          11) Do any of you have a relationship with, or particular knowledge about, Immigration

 5   and Customs Enforcement Agency, aka “ICE”? With GEO? With the State Department of

 6   Labor and Industries or the Attorney General’s Office?

 7          12) Do any of you have strong feelings about immigration, immigrants or immigration

 8   policy that might cause you to start into the case favoring or disfavoring one side?

 9          13) Do any of you have strong feelings about ICE that might cause you to start into the

10   case favoring or disfavoring one side?

11          14) Do any of you have strong feelings about The GEO Group that might cause you to

12   start into the case favoring or disfavoring one side?

13          15) Do any of you have strong feelings about The State of Washington or any of its

14   departments, that might cause you to start into the case favoring or disfavoring one side?

15          16) Do any of you have strong feelings about minimum wage laws, generally, that might

16   cause you to start into the case favoring or disfavoring one side?

17          17) Do any of you have strong feelings about privately-run detention centers that might

18   cause you to start into the case favoring or disfavoring one side?

19          18) Do any of you have strong feelings about class actions that might cause you to start

20   into the case favoring or disfavoring one side?

21          19) Will you accept the law from the Court and apply it, even if you don’t agree with the

22   law?

23          20) Is there anything about this case that would cause you to start the trial with any

24   feelings or concerns favoring or disfavoring either side?


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 1         21) Is there any reason why you might not be able to try this case impartially?

 2         22) Is there anything that we have not discussed that makes you want to be excused?

 3   Counsel may inquire –

 4         The Court will ask for challenges for cause at the end of each panel’s voir dire.

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